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                                    EXHIBIT A
            POST-PTO 81 DELINQUENT NON-DESIGNATED CANCER PLAINTIFFS


                                                Date Filed in / Transferred           Deadline to Serve Notice of
  Plaintiff Name(s) 5          Case No.
                                                         to MDL                      Intent to Pursue NDC Claim

  Mary Louise Lewis,
                            9:20-cv-81644                  9/11/2020                             4/12/2023
   Elisa Gathright
    Todd Anderson           9:22-cv-81999                 12/30/2022                             4/12/2023
    Sean Whitaker           9:23-cv-80105                  1/21/2023                             4/12/2023
     Robert Buttery,
   Individually and as
   Expected Personal     9:23-cv-80492                     3/30/2023                             5/29/2023
  Representative of the
 Estate of Carol Buttery




                                                           Date Filed in /       Date Notice           Deadline to
         Plaintiff Name                   Case No.         Transferred to         of Intent          Provide Expert
                                                               MDL                  Filed               Report 6
                                          3:23-CV-
        Anthony Gallagher                                      4/10/2023          3/23/2023             10/12/2023
                                            23705




    5
      Two Delinquent Plaintiffs named herein, Sean Whitaker and Todd Anderson, also allege designated cancer claims.
    Please note the present motion seeks dismissal with prejudice only of their Non-Designated Cancer claims.
    6
      See DE 6960 (granting second extension for Plaintiff to serve his required expert report).
                                                           1
